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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
v.                                              )      Case No. 4:01CR148
                                                )
DARRELL MILLER,                                 )
                                                )
                           Defendant.           )

                                        ORDER

       THIS MATTER comes before the Court on defendant's unopposed motion to

continue the February 8, 2007, revocation hearing, filing 442, for approximately 90 days.

The Court, being fully advised in the premises, and noting that the Government has no

objection, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the defendant’s revocation hearing shall be

continued until the 8th day of May, 2007, at 1:00 p.m. The defendant is ordered to appear

at said time.

       January 24, 2007.                        BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
